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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                               CASE NO. 1:14-cv-22653-ALTONAGA

   ROTHSCHILD STORAGE
   RETRIEVAL INNOVATIONS, LLC,

                         Plaintiff,

   vs.

   SAMSUNG ELECTRONICS CO.,
   LTD., SAMSUNG ELECTRONICS
   AMERICA, INC., and SAMSUNG
   TELECOMMUNICATIONS AMERICA,
   LLC, a/k/a SAMSUNG MOBILE and
   SAMSUNG WIRELESS,

                     Defendants.
   ________________________________/

         DECLARATION OF LEIGH M. ROTHSCHILD IN SUPPORT OF PLAINTIFF’S
            OPPOSITION TO DEFENDANTS’ MOTION TO TRANSFER VENUE

   I, Leigh M. Rothschild, hereby declare as follows:

           1.     My name is Leigh M. Rothschild. I am over eighteen years of age and am

   competent to testify about the matters in this Declaration. Except where stated, I have personal

   knowledge of all matters set forth herein.

           2.     I am the Managing Director of Rothschild Storage Retrieval Innovations, LLC.

   This Declaration is submitted in support of Plaintiff’s Opposition to Defendants’ Motion to

   Transfer Venue.

           3.     I filed my first patent application more than 30 years ago, and have since been

   issued more than 75 patents.




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           4.      I am the Managing Director of more than 7 businesses, all of which are based out

   of the Southern District of Florida.

           5.      All of my personal and business records are located in the Southern District of

   Florida, as are my CPA, general counsel, and my former prosecution counsel that was used for

   prosecution of U.S. Patent No. 8,437,797 (the “’797 patent”).

           6.      I am a single parent, and transfer across the United States (or otherwise) will

   cause significant inconvenience for my personal and child care obligations.

           7.      I formed RSRI to hold and enforce the ’797 patent, in this lawsuit and six related

   lawsuits in this District.

           8.      RSRI is not a “patent acquisition” company; instead of acquiring patents from

   others, it was formed by the inventor of the patent-in-suit strictly for assertion of the patent-in-

   suit.

           9.      RSRI’s principal place of business is in the Southern District of Florida and RSRI

   possesses documents relating to the conception and prosecution of ’797 patent, as well as related

   and parent applications and patents, in this District.

           10.     RSRI also has documents relating to the licensing of the ’797 patent in this

   District.

           11.     RSRI’s outside accountant is in this District, as is its outside general counsel.

   RSRI has multiple employees, including myself (Managing Director) and Connie Kazanjian

   (Executive Vice President).

           12.     Mrs. Kazanjian’s husband is scheduled to undergo brain surgery in January 2015

   that would render her travel exceptionally inconvenient.

           13.     The prosecuting attorneys of the parent to the patent in suit, U.S. Patent No.

   8,204,437, are Peter Matos and Steven M. Greenberg and are located in this District.
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          I declare under penalty of perjury that the foregoing is true and correct this 22nd day of

   December 2014, in Bay Harbor Islands, Florida.



                                               ____________________________________
                                               Leigh M. Rothschild




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